         Case 2:13-cv-01019-JAD-EJY Document 184 Filed 02/27/20 Page 1 of 4




 1
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 3   Peoria, Arizona 85381
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     Fax: (888) 477-5598
 5   mwesbrooks@gmail.com
 6   (Admitted Pro Hac Vice)
     Attorney for Plaintiffs, Robert Williamson, III and Vicki’s Vodka, LLC and
 7   Cross/Plaintiff Catherine Waken-Williamson
 8
                           UNITED STATES DISTRICT COURT
 9
                                  DISTRICT OF NEVADA
10
     ROBERT WILLIAMSON, III an                              BASE CASE NO.:
11   individual,                                        2:13-cv-01019-JAD- GWF
12
                    Plaintiff,                           MEMBER CASE NO.:
13                                                      2:13-cv-02022-JAD-GWF
            vs.
14                                                    EMERGENCY MOTION TO
                                                      CONTINUE HEARING ON
15                                                   PLAINITFFS’ MOTIONS FOR
     VICTORIA L. GUNVALSON, an
     individual; DAVID BROOKS AYERS, an                DEFAULT JUDGMENT
16
     individual,
17

18             Defendants.
     DAVID BROOKS AYERS, an individual,
19

20                  Counterclaimant,

21          vs.
22
     ROBERT WILLIAMSON, III, an
23   individual; CATE WAKEN-
24
     WILLIAMSON, an individual; and
     ANGELA TORRES, an individual,
25

26
                    Counterdefendants.

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                      EMERGENCY MOTION TO CONTINUE HEARING ON PLAINTIFFS’
                                MOTION FOR DEFAULT JUDGMENT - 1
           Case 2:13-cv-01019-JAD-EJY Document 184 Filed 02/27/20 Page 2 of 4




 1
            Plaintiffs Robert Williamson, III and Vicki’s Vodka, LLC (collectively
 2
     Plaintiffs”) and Chapter 13 Trustee Russell A. Brown, through Counsel, Mark D.
 3

 4   Wesbrooks of The Wesbrooks Law Firm, PLL (Collectively “Plaintiffs”) respectfully

 5   move the Court to continue the hearing on Plaintiff’s Motion for Default Judgment,
 6
     currently scheduled for March 2, 2020 at 2:00 p.m.(Doc.183) to an alternate date and
 7

 8
     time due to conflict of Plaintiff’s Counsel.

 9          Lead counsel has been diagnosed with pneumonia and is prohibited to travel,
10
     pursuant to doctor’s order and recommendation.
11

12
            Also, Plaintiff, Robert Williamson, whose testimony must be presented, has only

13   recently informed counsel that March 2, 2020 hearing date conflicts with his new
14
     employment advising that such early absence from work will cause Plaintiff to lose his
15
     job. Williamson and his Counsel reside outside of Nevada.
16

17          Plaintiff’s Counsel suggests that one of the following dates would work:
18
             Wednesday, March 18, 2020
19
             Thursday, March 19, 2020
20

21           Friday, March 20, 2020
22
             Wednesday, March 25, 2020 through Friday, March 27, 2020
23

24
             Monday, March 30, 2020 through Tuesday, March 31, 2020

25           Thursday, April 2 through Friday, April 3, 2020
26
             Monday, April 6, 2020
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                        EMERGENCY MOTION TO CONTINUE HEARING ON PLAINTIFFS’
                                  MOTION FOR DEFAULT JUDGMENT - 2
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 1
           This Motion is not sought for purposes of delay, but rather so that justice may be
 2
     achieved.
 3

 4         A proposed Order is attached.

 5         DATED this 27th day of February 2020,
 6
                               THE WESBROOKS LAW FIRM, P.L.L.C.
 7

 8
                               By: /s/Mark D. Wesbrooks
 9                                    Mark D. Wesbrooks, Esq.
10
                                      Attorneys for Robert Williamson,
                                      Catherine Williamson, & Vicki’s Vodka, LLC
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                      EMERGENCY MOTION TO CONTINUE HEARING ON PLAINTIFFS’
                                MOTION FOR DEFAULT JUDGMENT - 3
          Case 2:13-cv-01019-JAD-EJY Document 184 Filed 02/27/20 Page 4 of 4




 1
                                 CERTIFICATE OF SERVICE
 2
            I, Mark D. Wesbrooks, hereby certify that on February 27 2020, I filed through
 3   the Court’s ECF system and served either through the ECF system or by electronic mail
     the foregoing document described as: EMERGENCY MOTION TO CONTINUE
 4   HEARING ON PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT using the
 5   Court’s electronic filing system. A copy of the foregoing document(s) will be served via
     the Court’s electronic filing system on interested parties in this action, or by
 6   email/regular mail as follows:
 7
     2:13-cv-01019-JAD-EJY Notice has been electronically mailed to:
 8

 9   Tony L Abbatangelo (Terminated)      Tony@paulpaddalaw.com,
     arelicep@paulpaddalaw.com
10

11   Edward Randall Miley      emiley@mileylaw.com

12   Michael D. Mazur      complaint@mazurbrooks.com
13
     A. Mark Wesbrooks      mwesbrooks@gmail.com, wesbrooksefax@gmail.com
14

15
     2:13-cv-01019-JAD-EJY Notice has been delivered by other means to:

16   Angela Torres
17
     6715 Rim Rock Circle, Northwest
     Albuquerque, NM 87120
18

19
     Michael Nicholson
     P.O. Box 32
20   Calistoga, CA 94515
21
     /s/Jacob Rodriguez
22

23

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                        EMERGENCY MOTION TO CONTINUE HEARING ON PLAINTIFFS’
                                  MOTION FOR DEFAULT JUDGMENT - 4
